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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               MACON DIVISION

AIR FORCE OFFICER,

                             Plaintiff,
                                                       Case No. 5:22-cv-00009-TES
       v.

LLOYD J. AUSTIN, III, in his official
capacity as Secretary of Defense, et al.,

                             Defendants.


                                   NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all Defendants hereby appeal to the United States

Court of Appeals for the Eleventh Circuit from this Court’s Memorandum Opinion and

Order on Plaintiff’s Motion for Preliminary Injunction, ECF No. 51, granting Plaintiffs’

motion for preliminary injunction, ECF No. 2.


Dated: April 12, 2022                       Respectfully submitted,

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